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 1   PETER KMETO
     Attorney at Law
 2   State Bar No. 78827
     1007 Seventh Street, Suite 100
 3   Sacramento, CA 95814
     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )    No. CR-S-09-196 GEB
                                                    )
10                      Plaintiff,                  )
                                                    )    STIPULATION AND ORDER
11         vs.                                      )    CONTINUING STATUS
                                                    )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record, SEAN C.

17   FLYNN, stipulate and agree to the following:

18         1. The presently scheduled date of June 11, 2010 for Status Hearing shall be

19         vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for August 6, 2010 at 9:00 a.m..

21         2. Defendant, MICHAEL LEON WILLIAMS, continues to undergo daily radiation

22         therapy which impacts his ability to discuss the case with counsel and makes him

23         unavailable to come to court. The treatment is to last approximately another 2

24         weeks, however the side-effects of the treatment, which render him

25         unavailable, are to last approximately 6 additional weeks. Accordingly, the

26         parties stipulate that time be excluded pursuant to 18 U.S. C. §3161(h)(7)(A)

27         [Local Code T4] – additional time to adequately prepare for pretrial

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 1         proceedings.

 2

 3
           IT IS SO STIPULATED.
 4
     Dated:   June 9, 2010                     /s/ SEAN C. FLYNN
 5
                                              Assistant U.S. Attorney
 6                                            for the Government

 7

 8   Dated:   June 9, 2010                     /s/ PETER KMETO
                                              Attorney for Defendant
 9
                                              MICHAEL LEON W ILLIAMS
10

11

12                                            ORDER

13               UPON GOOD CAUSE SHOW N and the stipulation of the two parties,

14   it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,

15   only, be continued as set forth above.

16               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)
17   and Local Rule T-4 until August 6, 2010 for continuity of defense counsel and time
18   to permit defense counsel to prepare and properly advise his client.
19
     Dated: June 10, 2010
20

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22
                                         GARLAND E. BURRELL, JR.
23                                       United States District Judge
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